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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                        No. 1:15-cr-00272-DAD-BAM
12                       Plaintiff,
13            v.                                       ORDER DENYING DEFENDANT’S POST-
                                                       SENTENCING MOTION FOR TEMPORARY
14    EDMOND HORMOZI,                                  RELEASE
15                       Defendant.
16

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18           On February 18, 2020, defendant Edwin Hormozi was sentenced by this court to the

19   custody of the U.S. Bureau of Prisons (BOP) for concurrent terms of imprisonment of 126

20   months following his conviction at jury trial of conspiracy to distribute and possess with the

21   intent to distribute methamphetamine and distribution of methamphetamine as charged in Counts

22   One, Two and Three of the indictment. (Doc. Nos. 197, 199, 220 and 224.) On February 20,

23   2020 defendant Hormozi filed a notice of appeal and his appeal was processed to the Ninth

24   Circuit. (Doc. Nos. 226, 227.)

25           Earlier today, defendant Hormozi’s appellate counsel filed with this court a Motion For

26   Order For The Temporary Release Of Federal Prisoner To Attend Family Member’s Funeral.

27   (Doc. No. 282.) In that motion, counsel on behalf of defendant Hormozi seek his temporary

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     Case 1:15-cr-00272-DAD-BAM Document 285 Filed 07/15/20 Page 2 of 3


 1   release on July 17, 2020, from the Lerdo Justice Facility1 located in Kern County and for his
 2   transport to Turlock, CA for the funeral of his brother who, unfortunately, passed away on July
 3   10. (Id. at 4.) Defendant’s counsel explains that in light of defendant’s emotional problems,
 4   being allowed to attend his brother’s funeral and have contact with his family is particularly
 5   important to defendant’s well-being and that his record while on pretrial release in this case
 6   establishes that he poses no flight risk or danger if the motion were granted. (Id.)
 7           Defendant’s motion, however, contains no citation to authority in support of his request
 8   for temporary release. Because defendant Hormozi has already been sentenced to the custody of
 9   the BOP, the statute authorizing courts to grant temporary release of defendants awaiting trial or
10   sentencing –18 U.S.C. § 3142(i) – does not apply. See United States v. Hernandez, 18 Cr. 834
11   (PAE), 2020 WL 1445851, at *1 (S.D. N.Y. Mar. 25, 2020). Rather, the provision that applies to
12   sentenced prisoners such as defendant Hormozi appears to be 18 U.S.C. § 3622(a)(2) which
13   provides as follows:
14                  The Bureau of Prisons may release a prisoner from the place of his
                    imprisonment for a limited period if such release appears to be
15                  consistent with the purpose for which the sentence was imposed and
                    any pertinent policy statement issued by the Sentencing Commission
16                  pursuant to 28 U.S.C. 994(a)(2), if such release otherwise appears to
                    be consistent with the public interest and if there is reasonable cause
17                  to believe that a prisoner will honor the trust to be imposed in him,
                    by authorizing him, under prescribed conditions, to--
18
                    (a) visit a designated place for a period not to exceed thirty days, and
19                  then return to the same or another facility, for the purpose of--
20                          (1) visiting a relative who is dying;
21                          (2) attending a funeral of a relative . . . .
22   (emphasis added); see also Hernandez, 2020 WL 1445851, at *1. This statute, on its face, does
23   not authorize the court to grant the relief requested in the pending motion and defendant has cited
24   no authority suggesting that the court, in fact, has such authority.
25   /////
26   1
       As noted, defendant Hormozi was sentence to the custody of the BOP back on February 18,
27   2020. Although not addressed in the pending motion, the court assumes that due to issues arising
     from the COVID 19 pandemic, defendant Hormozi has not yet been transported to a BOP facility
28   and remains in confinement in Kern County.
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 1                                             CONCLUSION
 2          The court is sympathetic to defendant Hormozi’s request to be allowed to attend his
 3   brother’s funeral. However, in the absence of both supporting authority and a suitable proposed
 4   temporary release plan, the motion for temporary release (Doc. No. 282) is denied.2
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     IT IS SO ORDERED.
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         Dated:    July 15, 2020
 8                                                      UNITED STATES DISTRICT JUDGE
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       Were the court authorized to grant the requested relief, which it believes it is not, it would
21   acknowledge that defendant Hormozi was under Pretrial Services supervision for four years and
22   one month without incident. He remained in complete compliance with the terms and conditions
     of his release during that time and was remanded into custody at the time of his conviction only
23   because the Mandatory Detention Act required it. However, the court also notes that defendant’s
     counsel has not proposed any adequate conditions in connection with the proposed temporary
24   release. Rather, it appears that counsel is requesting that BOP or Kern County personnel
     transport the defendant to Turlock for the funeral and return him to the Lerdo Justice facility
25   thereafter. (Doc. No. 282 at 4) (“ordering the Commanding Officer at the Kern County Lerdo
26   Justice Facility . . . to temporarily release Prisoner/Defendant . . . from custody and to transport
     Prisoner/Defendant . . . to the Turlock Funeral Home.”) This is almost certainly unacceptable.
27   Moreover, the pending motion also does not propose a third party custodian for defendant while
     on temporary release or a time for his return into custody. Thus, even if the court had the
28   authority to grant the motion, it would not.
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